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P R O B 35                  ORDER TERMINATING PROBATION
                              PRIOR TO EXPIRATION DATE


                            UNITED STATES DISTRICT COURT
                                      FOR THE
                           EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                         )
                                                 )
                             vs.                 )     Docket Number: 1:05CR00391-06 OWW
                                                 )
CANDICE BROWN                                    )
                                                 )


On October 10, 2006, the above-named was placed on Probation for a period of 3 years.
She has complied with the rules and regulations of supervision. It is accordingly
recommended that She be discharged from supervision.

                                   Respectfully submitted,

                                    /s/ Thomas A. Burgess

                                  Thomas A. Burgess
                       Supervising United States Probation Officer

Dated:         May 5, 2008
               Bakersfield, California




                                                                                                        R ev. 05/2006
                                                             E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
           Case 1:05-cr-00391-AWI Document 184 Filed 05/08/08 Page 2 of 2


Re:   CANDICE BROWN
      Docket Number: 1:05CR00391-06 OWW
      ORDER TERMINATING PROBATION
      PRIOR TO EXPIRATION DATE




                                   ORDER OF COURT

It is ordered that the probationer be discharged from probation, and that the proceedings in
the case be terminated.

IT IS SO ORDERED.

Dated: May 7, 2008                           /s/ Oliver W. Wanger
emm0d6                                  UNITED STATES DISTRICT JUDGE




                                                                                                        R ev. 05/2006
                                                             E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
